Case 1:12-cr-00068-CG-C     Doc# 349    Filed 11/06/12   Page 1 of 4    PageID# 1390




                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA                  *
                                          *
v.                                        *     CRIMINAL NO. 12-00068-CG
                                          *
CLIFTON FIDELE HEARD                      *
                                          *
      Defendant.                          *

                  PRELIMINARY ORDER OF FORFEITURE

      WHEREAS, in the Indictment in the above-entitled case the United States

sought forfeiture of property which represented drug proceeds and/or property used

to facilitate drug transactions of defendant CLIFTON FIDELE HEARD, pursuant

to Title 21, United States Code, Section 846;

      AND WHEREAS, based upon the Indictment, the guilty plea entered on May

21, 2012, and the Plea Agreement entered into between the United States and

defendant CLIFTON FIDELE HEARD, and for the reasons stated, it is hereby;

      ORDERED, ADJUDGED and DECREED, that pursuant to Title 21,

United States Code, Sections 853, and Federal Rule of Criminal Procedure 32.2(b),

the interest of the Defendant, CLIFTON FIDELE HEARD, in the property

identified as follows is hereby condemned and forfeited to the United States for

disposition according to law:

      (1) One Lexus GS400, Ala. Registration # 5A99S19,
          VIN # JT8BH68X6Y0026828;

      (2) One 2001 Chevrolet Tahoe, Ala. Registration # BA32977,
          VIN # 1GNEC13T71J309332;

                                          1
Case 1:12-cr-00068-CG-C     Doc# 349     Filed 11/06/12   Page 2 of 4    PageID# 1391




      (3) One 2003 BMW 745LI, Ala. Registration # BA74908,
          VIN# WBAGN63453DR16717;

      (4)   $2,253.00 in United States currency, seized from 801 East
            Franklin Avenue, Foley, Alabama; and

      (5) All that lot or parcel of land, together with its buildings,
          appurtenances, improvements, fixtures, attachments and
          easements, located at 801 East Franklin Avenue, Foley, Alabama,
          more particularly described as:

               “a single story house, which is painted off-white/cream
               with burgundy trim. There is a set of burgundy steps
                leading to the front entrance with a glass door on the
               outside of the residence. There is a black mailbox in front
                of the residence marked “801".

      AND WHEREAS, by virtue of said guilty plea and said Plea Agreement, the

United States is now entitled, pending possible appeal herein, to reduce the said

property to its possession and notify any and all potential third parties who have or

may have an interest in the forfeited property, pursuant to Title 21, United States

Code, Section 853 and Rule 32.2(b) of the Federal Rules of Criminal Procedure.

      NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED and

DECREED:

      That based on the Plea Agreement, the factual resume, the guilty plea, and

Fed.R.Crim.P 32.2(b)(3), and pursuant to the defendant’s consent, all right, title and

interest of defendant CLIFTON FIDELE HEARD in the above-described property

is hereby forfeited to and vested in the United States of America for disposition in

accordance with law, subject to the provisions of Title 21, United States Code,

Section 853(n); and


                                          2
Case 1:12-cr-00068-CG-C      Doc# 349     Filed 11/06/12    Page 3 of 4     PageID# 1392




      That the aforementioned property is authorized to be held by the United

States Marshals Service in their secure custody and control.

      Pursuant to 21 U.S.C. Section 853(n)(1) and the Attorney General’s authority

to determine the manner of publication of an Order of Forfeiture in a criminal case,

the United States shall publish notice of this order on an official government

internet site (www.forfeiture.gov) for at least 30 consecutive days.

      This notice shall state that the petition shall be for a hearing to adjudicate

the validity of the petitioner’s alleged interest in the property, shall be signed by the

petitioner under penalty of perjury, and shall set forth the nature and extent of the

petitioner’s right, title or interest in the forfeited property and any additional facts

supporting the petitioner’s claim and the relief sought.

      The United States must also provide direct written notice to any person

known to have alleged an interest in the property that is the subject of the Order of

Forfeiture, as a substitute for published notice as to those persons so notified.

      After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A)

and before a hearing on the petition, discovery may be conducted in accordance with

the Federal Rules of Civil Procedure upon showing that such discovery is necessary

or desirable to resolve factual issues.

      The United States shall have clear title to the property following the Court’s

disposition of all third-party interests, or, if none, following the expiration of the

period provided in Title 21, United States Code, Section 853(n)(2) for the filing of

third-party petitions.
                                            3
Case 1:12-cr-00068-CG-C     Doc# 349     Filed 11/06/12   Page 4 of 4    PageID# 1393




      Pursuant to Fed. R. Crim. P. 32.2(b)(3), and the Plea Agreement signed by

the parties, this Preliminary Order of Forfeiture shall become final as to the

defendant at the time of execution and shall be made part of the sentence included

in the judgment. If no third party files a timely claim, this Order shall become the

Final Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

      The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

      The Clerk of the Court shall forward four (4) certified copies of this Order to

Assistant U.S. Attorney Daryl A. Atchison, U.S. Attorney’s Office, Southern District

of Alabama.

      DONE and ORDERED this 6th day of November, 2012.

                                        /s/ Callie V. S. Granade
                                        UNITED STATES DISTRICT JUDGE




                                          4
